Case:17-03283-LTS Doc#:19796-4 Filed:01/17/22 Entered:01/17/22 15:06:23   Desc:
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                 Department of Corrections and Rehabilitation




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            Case KAC-1996-1381, “ROMERAZO”. Known as “El Romerazo,” salary raises
           owed to employees of the Department of Corrections




                   Department of Corrections and Rehabilitation


Case No              San Juan Legal Center, Ave. Luis Muñoz Rivera
17-03283


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                               TRANSLATOR’S CERTIFICATE OF TRANSLATION




Translation from: Spanish (Puerto Rico) into English (US)

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I, Andreea I. Boscor, ATA-certified Spanish-English #525556, acting as translator at TARGEM Translations Inc., a NEW
YORK City corporation, with its principal office at 185 Clymer Street, Brooklyn, NY, 11211, USA, certify that:

the English translated document is a true and accurate translation of the original Spanish and has been translated to
the best of my knowledge.




Original Document Name: Claim No. 171318




                                                                       Signed this 20th day of December, 2021




                                                                       __________________________

                                                                        Andreea I. Boscor
